                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                            NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )
v.                                                   )       Criminal No. 2:11-00002
                                                     )       Judge Trauger
[29] KEVIN JAMES WOODY                               )

                                            ORDER

       The defendant’s Motion to Amend Judgement (Docket No. 1213) is GRANTED. It is

hereby ORDERED that the Judgment (Docket No. 1170) is hereby AMENDED to provide that

the defendant is to report to the institution designated by the Bureau of Prisons to begin serving

his custody sentence by 2:00 p.m. on Monday, November 5, 2012.

       It is so ORDERED.

       ENTER this 9th day of October 2012.




                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




Case 2:11-cr-00002        Document 1217         Filed 10/09/12      Page 1 of 1 PageID #: 3078
